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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                   CASE NO.: 1:21-CV-22440-WILLIAMS/MCALILEY

  DONALD J. TRUMP, the Forty- Fifth
  President of the United States,
  INDIVIDUALLY AND ON BEHALF OF A
  CLASS OF PERSONS SIMILARLY
  SITUATED,

          Plaintiff and the Class,
  vs.

  FACEBOOK, INC., and
  MARKZUCKERBERG,

          Defendants.
                                     /


                                NOTICE OF ENTRY OF PARTIES

         Donald J. Trump, 45th President of the United States, et al., by and through their counsel,

 files this Notice of Entry of Parties, requesting addition of Andres Cabos, Magalys Rios, and Maria

 Rodriguez-Fresneda, as parties to the matter, which were not added at the time of the filing of the

 Amended Complaint for Injunctive and Declaratory Relief.

                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Constitutional

 Question was served by CM/ECF filing system on July 30, 2021, on all counsel or parties of record

 on the service list.                                 Respectfully submitted by,

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                                                    Vargas Gonzalez Baldwin
                                                    Delombard, LLP
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